         Case 3:05-cr-00332-JAG         Document 48        Filed 08/03/06     Page 1 of 7



                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA,

 Plaintiff,

                v.                                        CRIMINAL NO. 05-332 (JAG)

 [2] JOEL MERCED RODRIGUEZ, aka
 “Freddy Rodríguez”

 Defendant.



                           REPORT AND RECOMMENDATION

        Defendant Joel Merced-Rodríguez was charged in Counts One and Two of a two count

Indictment, and he agreed to plead guilty to Count Two. Count Two charges that, on or about

September 10, 2005, in the District of Puerto Rico and within the jurisdiction of this Court,

defendant Merced-Rodríguez along with the other co-defendant, aided and abetted each other,

with the intent to cause serious bodily harm, did knowingly, willfully, intentionally and unlawfully

take a motor vehicle, to wit, a 2001 Honda CRV, vehicle identification number

JHKRD2846YS006161, license plate EEK-823, said motor vehicle having been transported,

shipped, or received in interstate or foreign commerce, from the person or presence of Noemí

López-Fernández, by force and violence, or intimidation. All in violation of Title 18, United

States Code, Section 2119(1) and 2.

        Defendant appeared before this Magistrate Judge on August 1, 2006, since the Rule 11

hearing was referred by the court. Defendant was provided with a Waiver of Right to Trial by

Jury in each case, which he signed and agreed upon voluntarily after examination in open court,

under oath.
           Case 3:05-cr-00332-JAG                       Document 48               Filed 08/03/06             Page 2 of 7



United States of America v. Joel Merced-Rodríguez
Criminal No. 05-332 (JAG)
Report and Recommendation
Page N o. 2

          Defendant indicated and confirmed his intention to plead guilty to Count Two of the

Indictment, upon being advised of his right to have said proceedings before a district judge of this

court. 1 Upon verifying through defendant’s statement his age, education and any relevant aspect

as to the use of medication, drugs, alcohol or substance dependency, and psychological or

psychiatric condition, to ascertain his capacity and ability to understand, answer and comprehend

the interactive colloquy with this Magistrate Judge, a determination was made as to defendant’s

competency and ability to understand the proceedings.

          Having further advised defendant of the charges contained in above-stated Count Two,

he was examined and verified as being correct that: he had consulted with his counsel, Anita

Hill-Adames, prior to the hearing for change of plea, that he was satisfied with the services

provided by his legal representative and had time to discuss with her all aspects of the case,

insofar, among other things, regarding the change of plea, the consent to proceed before a United

States Magistrate Judge, the content of the Indictment and the charge therein, his constitutional

rights and the consequences of the waiver of same.

          Defendant was specifically appraised by this M agistrate Judge that, upon withdrawing his

initial plea of not guilty and now entering a plea of guilty to the charge specified, he was waiving

his right to a public, speedy, and a trial by jury constituted by twelve jurors who have to

unanimously agree to a verdict. He was also waiving his right to be presumed innocent and for

the government to meet the obligation of establishing his guilt beyond a reasonable doubt.




          1
              The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Gu ilty (R ule 1 1, Fed.R .Crim .P.) an d W aive r of Ju ry Trial, sign ed and con sente d by both parties is made part o f the rec ord.
        Case 3:05-cr-00332-JAG             Document 48      Filed 08/03/06       Page 3 of 7



United States of America v. Joel Merced-Rodríguez
Criminal No. 05-332 (JAG)
Report and Recommendation
Page N o. 3

Furthermore, he was waiving his right during said trial to confront the witnesses who were to

testify against him and be able to cross-examine them , through counsel at said trial, as well as

present evidence on his behalf. He was also waiving the right to compel the attendance of

witnesses and that subpoenas be issued to have them appear in court to testify. Defendant was

specifically appraised of his right to take the stand and testify, if he so decided, or not to testify,

and no inference or decision as to his guilt could be made from the fact if he decides not to

testify. Defendant was also explained his right not to incriminate himself; that upon such a waiver

of all above-discussed rights a judgment of guilty and his sentence were to be based on his plea

of guilty, and he would be sentenced by the judge after considering the information contained

in a pre-sentence report.

        As to all the above, defendant provided an individualized and positive acknowledgment

of each and every waiver and, with the assistance of his counsel, Attorney Hill-Adames, indicated

he freely and voluntarily waived those rights and understood the consequences. During all this

colloquy, defendant was made aware that he could freely request from this Magistrate Judge any

additional clarification, repetition, or ask questions and that he may consult with his attorney at

any given time as to any issue.

        Defendant expressed his understanding of the penalties prescribed by statute for the

offense as to which he was pleading guilty as follows: a term of imprisonment of not more than

fifteen (15) years, a term of supervised release of at least five (5) years and a fine of two hundred
        Case 3:05-cr-00332-JAG             Document 48   Filed 08/03/06     Page 4 of 7



United States of America v. Joel Merced-Rodríguez
Criminal No. 05-332 (JAG)
Report and Recommendation
Page N o. 4

fifty thousand dollars ($250,000.00). Defendant shall pay a special monetary assessment of one

hundred dollars ($100.00), per count, to be deposited in the Crime Victim Fund, pursuant to Title

18, United States Code, Section 3013(a).

        Having ascertained directly from defendant that he had not been induced in any way to

plead guilty, that no one had forced him in any way to plead guilty, nor that he had been offered

any reward or any other thing of value to get him to plead guilty, the document entitled “Plea

Agreement under FRCP 11(c)(1)(B) FRCP” (“the Agreement”) was shown to defendant, verifying

his signature and initials on each and every page.

        Pursuant to said Agreement, and insofar as Count Two, as to which defendant already

was aware of the maximum possible penalties, defendant was appraised that it was up to the sole

discretion of the sentencing court what the sentence to be imposed on him will be. Defendant

was specifically informed that if the sentencing court were to impose a sentence which turned out

to be higher or more severe than the one he might be expecting, for said reason alone, defendant

would have no grounds for the court to allow him to withdraw his plea of guilty.

        The above-captioned parties’ estimate and agreement appears on pages three (3) to four

(4), paragraph eight (8) of the Agreement, regarding the possible applicable advisory Sentencing

Guidelines, were further elaborated and explained. The Base Offense Level is of Twenty-Nine

(29), for a career offender pursuant to U.S.S.G. § 4B1.4(b)(D). Defendant’s Base Offense Level

will be reduced by three (3) levels for acceptance of responsibility, pursuant to U.S.S.G. §
        Case 3:05-cr-00332-JAG             Document 48   Filed 08/03/06      Page 5 of 7



United States of America v. Joel Merced-Rodríguez
Criminal No. 05-332 (JAG)
Report and Recommendation
Page N o. 5

3E1.1(b), for a Total Offense Level of Twenty Six (26), with a sentencing range of one hundred

and twenty (120) to one hundred and fifty (150) months of imprisonment assuming a Criminal

History Category of VI.

        As indicated in paragraph ten (10) of the Agreement, the parties agree to recommend an

imprisonment term of one hundred and forty one (141) months, as to Count Two of the

Indictment. The United States and the defendant agree that no further adjustments or departures

to the defendant’s base offense level shall be sought by the parties.

        The parties do not stipulate any assessment as to the defendant’s Criminal History

Category. Upon the recomm endation by the parties that defendant be sentenced to a term of

imprisonment of one hundred and forty one (141) months as to Count Two of the Indictment,

the United States shall move to dismiss Count One of the Indictment.

        As part of the written Agreement, the government, the defendant, and his counsel also

agreed they are aware that the Sentencing Guidelines are no longer mandatory and are thus

considered advisory.

        Defendant was specifically informed that the above sentencing calculations were not

binding for the sentencing court, but were only estimates of possible terms of his sentence, which

may always be imposed, at the sole discretion of the court, up to the maximum penalties allowed

by statute, and dependent upon the information and verification thereof of the pre-sentence

report that the court would have before it at the time of imposition of the sentence.

        The government presented to this Magistrate Judge and to defendant, assisted by his

counsel, a summary of the basis in fact for the offenses charged and the evidence the government
        Case 3:05-cr-00332-JAG             Document 48   Filed 08/03/06      Page 6 of 7



United States of America v. Joel Merced-Rodríguez
Criminal No. 05-332 (JAG)
Report and Recommendation
Page N o. 6

had available to establish, in the event defendant had elected to go to trial, the commission of

the offense, beyond a reasonable doubt. Counsel and defendant acknowledged the evidence of

the government was fully disclosed to them and previously discussed between the two.

Defendant was able to understand this explanation and agreed with the government’s

submission. Defendant was also read and shown a written document entitled Stipulation of

Facts, which had been signed by defendant and his counsel and is attached to the Agreement,

wherein the signature of counsel for the government also appears.

        Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

        Having once more ascertained that defendant has indicated not being induced to plead

guilty, and was entering such a plea because in fact he is guilty, without any promises or

predictions being made as to the sentence to be imposed by the court, defendant was informed

that parole has been abolished under the advisory Sentencing Reform Act and that any sentence

of imprisonment would be served, without him being released on parole. Defendant was

additionally informed that prior to sentence, the sentencing judge will have a pre-sentence report

and that it would be made available to him, to his counsel and to the government, so that they

be allowed to correct or object to any information contained in said report which was not

accurate. Depending on the facts found by the court at the time and the sentence imposed, both
          Case 3:05-cr-00332-JAG                   Document 48             Filed 08/03/06           Page 7 of 7



United States of America v. Joel Merced-Rodríguez
Criminal No. 05-332 (JAG)
Report and Recommendation
Page N o. 7

defendant and the government may appeal the sentence of the court.2

         Defendant was read in open court the Indictment, and was provided an opportunity to

see and examine same, indicating he availed himself of the opportunity to further discuss same

with his attorney and then he positively stated that what was contained in Count Two was what

he had done and to which he was pleading guilty during these proceedings.                                       Thereafter,

defendant expressed in no uncertain terms that he agreed with the government’s evidence as to

his participation in the offense. Thereupon, defendant indicated he was pleading guilty to Count

Two of the Indictment in Criminal No. 05–332 (JAG).

         This Magistrate Judge after having explained to the defendant his rights, ascertaining that

he was acting freely and voluntarily to the waiver of such rights and in his decision of pleading

guilty, with full knowledge of the consequences thereof, and there being a basis in fact for such

a plea, is recommending that a plea of guilty be entered as to Count Two of the Indictment in

Criminal No. 05-332 (JAG).

         IT IS SO RECOMMENDED.

         The sentencing hearing will be promptly scheduled before Honorable Jay A. García-

Gregory, District Court Judge.

         San Juan, Puerto Rico, this 3rd day of August of 2006.

                                                          s/ CAMILLE L. VELEZ-RIVE
                                                          CAMILLE L. VELEZ-RIVE
                                                          UNITED STATES MAGISTRATE JUDGE




         2
           The right to appeal is subject to certain limitations allowed by law since the Agreement also includes in paragraph
twen ty-one (21) a w aiver of ap peal.
